Case 2:23-cv-01165-KM-LDW Document 6-7 Filed 04/30/23 Page 1 of 2 PageID: 138




                  EXHIBIT E
Case 2:23-cv-01165-KM-LDW Document 6-7 Filed 04/30/23 Page 2 of 2 PageID: 139




                          UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW JERSEY


  TREY GREENE, individually and on behalf of Case No.: 2:23-cv-01165
  all others similarly situated,
                                 Plaintiff,
          v.

  ZAC PRINCE, FLORI MARQUEZ, TONY
  LAURA, JENNIFER HILL and GEMINI
  TRADING, LLC,

                                 Defendants.



  [PROPOSED] ORDER APPOINTING LEAD PLAINTIFFS AND LEAD COUNSEL

Upon good cause shown, IT IS HEREBY ORDERED THAT:

   1. The Motion of the Plaintiffs’ Motion for Appointment as Lead Plaintiffs and Approval of

      Selection of Counsel is granted.

   2. Trey Greene and Arman Reyes are hereby appointed as Lead Plaintiffs for the proposed

      Class pursuant to 15 U.S.C. § 78u-4, as amended by the Private Securities Litigation

      Reform Act of 1995.

   3. Squitieri & Fearon LLP and Moore Kuehn PLLC are hereby appointed as Lead Counsel

      for the proposed Class.



SO ORDERED:

Dated: __________, 2023
                                           UNITED STATES DISTRICT JUDGE
